                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:21-CV-467-RJC-DCK

 PARAMOUNT STAFFING, LLC,                              )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )        ORDER
                                                       )
 PARAMOUNT STAFFING SOLUTIONS                          )
 LLC, et al.,                                          )
                                                       )
                Defendants.                            )
                                                       )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 13) filed by Thomas L. Ogburn, III, concerning Shaina P.

Wolfe, on September 28, 2021. Shaina P. Wolfe seeks to appear as counsel pro hac vice for

Defendants Paramount Staffing Solutions LLC, Paramount Staffing LLC, Paramount Staffing

Perm LLC, and Gilles Tanneur. Upon review and consideration of the motion, which was

accompanied by submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 13) is GRANTED. Shaina P. Wolfe

is hereby admitted pro hac vice to represent Defendants Paramount Staffing Solutions LLC,

Paramount Staffing LLC, Paramount Staffing Perm LLC, and Gilles Tanneur.

         SO ORDERED.


                                   Signed: September 28, 2021




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